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    MARYELLIS BUNN, and
  8 1AND8 INC., dba MUSEUM OF ICE
    CREAM
  9
 10                              UNITED STATES DISTRICT COURT
 11              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 12
 13 PRETTY IN PLASTIC, INC., a                 Case No. 2:18-cv-06091-GW (SKx)
    California corporation,
 14                                            DEFENDANTS’ NOTICE OF
                 Plaintiff,                    MOTION AND MOTION TO
 15                                            DISMISS COMPLAINT
          v.
 16                                            Date: November 8, 2018
    MARYELLIS BUNN, an individual;             Time: 8:30 a.m.
 17 and1AND8 INC., a Delaware                  Crtrm.: 9D
    corporation dba MUSEUM OF ICE
 18 CREAM,                                     The Hon. George H. Wu
 19                      Defendants.
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                                                            Case No. 2:18-cv-06091-GW (SKx)
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  1                                  NOTICE OF MOTION
  2           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
  3           PLEASE TAKE NOTICE that on November 8, 2018, at 8:30 a.m., or as soon
  4 thereafter as the matter may be heard before the Honorable George H. Wu, U.S.
  5 District Judge of the Central District of California, in Courtroom 9D of the United
  6 States Courthouse, 350 West 1st Street, Los Angeles, California, defendants
  7 Maryellis Bunn and 1AND8, Inc. dba Museum of Ice Cream (“MOIC”)
  8 (collectively, “Defendants”) will and hereby do move the Court for an order
  9 dismissing with prejudice the claims brought by plaintiff Pretty in Plastic, Inc.
 10 (“Plaintiff”) for: (1) copyright infringement; (2) breach of contract; (3) unjust
 11 enrichment; and (4) unfair competition under Cal. Bus. & Prof. Code §§ 17200 et
 12 seq. and California common law. [Docket No. 1.] Each of these claims fails to state
 13 a claim upon which relief may be granted and therefore should be dismissed under
 14 Rule 12(b)(6) of the Federal Rules of Civil Procedure. Should the Court deny the
 15 outright dismissal of Plaintiff’s claims, Plaintiff’s claims are subject to dismissal as
 16 to Ms. Bunn, as Plaintiff has failed to allege sufficient facts against Ms. Bunn in her
 17 personal capacity.
 18           The parties met and conferred regarding the substance of this motion as
 19 required by Local Civil Rule 7-3, including by participating in a telephonic
 20 conference on September 14, 2018, during which the parties discussed Plaintiff’s
 21 claims and the applicable law. Notwithstanding those discussions, Plaintiff declined
 22 to withdraw or amend its claims. (See Declaration of Gazal Pour-Moezzi in Support
 23 of Motion to Dismiss Complaint, ¶ 3.)
 24           This Motion is based on this Notice and the Memorandum of Points and
 25 Authorities provided below, the Declaration of Gazal J. Pour-Moezzi in Support of
 26 Motion to Dismiss Complaint, Request for Judicial Notice in Support of Motion to
 27 Dismiss Complaint, the pleadings and papers on file, and any other matters as the
 28 Court may consider.

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  1 Dated: October 9, 2018
  2                             SHEPPARD, MULLIN, RICHTER & HAMPTON
  3                             LLP

  4                             By            /s/ Carlo F. Van den Bosch
  5                                          CARLO F. VAN DEN BOSCH
                                               GAZAL POUR-MOEZZI
  6                                            Attorneys for Defendants
  7                                              MARYELLIS BUNN
                                           1AND8 INC., dba MUSEUM OF ICE
  8                                                     CREAM
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  1                      MEMORANDUM OF POINTS AND AUTHORITIES
  2 I.        INTRODUCTION
  3           Within the intellectual property realm, the relative ease of securing a
  4 copyright registration—often without substantive examination and payment of only
  5 a nominal fee—has promoted an influx of copyright litigation. And, despite a
  6 chorus of critics who challenge the merits of many such cases, they regularly yield
  7 settlement payments in lieu of a more costly defense. Still, even the most borderline
  8 of cases must satisfy that basic tenet of copyright law that one cannot protect or
  9 monopolize a general idea, but only unique expressions of that idea. The allegations
 10 in this case do not meet that standard.
 11           Plaintiff would expand the scope of copyright protection by claiming a
 12 monopoly on all depictions of a white unicorn. In 2016, Plaintiff responded to a
 13 request from defendant 1AND8, Inc. dba Museum of Ice Cream (“MOIC”) for a
 14 design proposal reflecting a rainbow themed exhibit. That design proposal, which
 15 MOIC ultimately did not use, contained numerous elements. Among them was a
 16 simple white unicorn.
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 25           In 2017, MOIC opened an interactive “pop-up” exhibit in San Francisco, and

 26 included a different white unicorn within one of its exhibit rooms. Plaintiff then
 27 commenced this suit against MOIC and MOIC’s founder, Maryellis Bunn
 28 (collectively, “Defendants”), alleging that Defendants’ use of a white unicorn

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   1 constitutes copyright infringement, breach of contract, unjust enrichment and unfair
   2 competition.
   3           Each of Plaintiff’s causes of action fails to allege a plausible claim. As to the
   4 copyright infringement claim, Plaintiff cannot monopolize the underlying idea of a
   5 white unicorn—this idea is free for others, including MOIC, to use. Copyright law
   6 protects only the particular original expression of the underlying idea. When the
   7 arguably protectable elements of Plaintiff’s unicorn are compared to MOIC’s
   8 unicorn, it is clear that Plaintiff cannot plausibly allege that the works are
   9 substantially similar.
 10            Plaintiff also has failed to allege actionable claims for unjust enrichment and
 11 unfair competition. These claims are based solely on the alleged unauthorized use
 12 of Plaintiff’s work, and are therefore preempted by the Copyright Act.
 13            Finally, Plaintiff has failed to state an actionable claim for breach of contract
 14 because the parties’ Non-Disclosure Agreement (“NDA”) expressly excludes any
 15 information which is generally known by the public. Undoubtedly, the general
 16 public was aware of the idea of a white unicorn long before the parties entered into
 17 the NDA. Accordingly, Plaintiff cannot plausibly allege any breach of the NDA.
 18 II.        FACTUAL BACKGROUND
 19            A.         The Parties And Their Prior Association
 20            MOIC, which was co-founded by defendant Maryellis Bunn, is an interactive
 21 “pop-up” art exhibit which features brightly colored rooms designed around a
 22 central ice cream theme. [Complaint, ¶¶ 8, 10.] MOIC opened its first location in
 23 2016 in New York City, and has since launched exhibits in Los Angeles and San
 24 Francisco. [Id., ¶¶ 8, 11, 19.] MOIC has achieved significant success and publicity,
 25 being dubbed “one of the most Instagrammed spaces in the country” and having
 26 been visited by celebrities like Beyonce, Kim Kardashian, and Drew Barrymore.
 27 [Complaint, ¶ 30]; (Declaration of Gazal Pour-Moezzi in Support of Motion to
 28 Dismiss (“Pour-Moezzi Decl.”), ¶ 3, Ex. A).

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   1           To create its ice cream themed rooms, MOIC sometimes works with other
   2 artists. [See Complaint, ¶ 11.] In 2016, MOIC decided to include a rainbow themed
   3 room in a future project, and requested that Pretty in Plastic, Inc. (“Plaintiff”) submit
   4 a bid for several designs, including a “rainbow sherbet” room. [Id., ¶ 12.] Plaintiff
   5 requested that MOIC sign an NDA prior to sharing its proposal. [Id., ¶ 14.] Ms.
   6 Bunn signed the NDA on behalf of MOIC and returned it to Plaintiff on November
   7 3, 2016. [Id.] The NDA requires MOIC to use “reasonable means” to “prevent the
   8 disclosure[of] and protect” Plaintiff’s “Confidential Information.” (See Pour-
   9 Moezzi Decl., ¶ 4, Ex. B.) The NDA defines “Confidential Information” as:
 10                       Any information disclosed by or on behalf of [Plaintiff] to
                          [MOIC] at any time before or after the execution of th[e
 11                       NDA] . . . including, without limiting the generality of the
                          foregoing, any drawings, notes, data, reports, photographs,
 12                       audio and/or video equipment, models, samples and the
                          like and any copies or reproductions thereof.
 13
       (Pour-Moezzi Decl., Ex. B at ¶¶ 1-2.) The NDA also expressly provides that
 14
       “Confidential Information shall not include information which was or becomes
 15
       generally available to the public . . . .” (Id. (emphasis added).)
 16
               In November 2016, Plaintiff submitted its proposals, including one for the
 17
       rainbow themed room, as illustrated below (“Plaintiff’s Work”). [Complaint, ¶¶ 16-
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       17.]
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               Ultimately, MOIC did not move forward with any of Plaintiff’s proposals,
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       including the one shown above. [Id., ¶ 18.]
 13
               B.         MOIC Opens A Location In San Francisco
 14
               In September 2017, MOIC opened a pop-up exhibit in San Francisco, which
 15
       featured, among other rooms, a rainbow themed room, as illustrated below (the
 16
       “MOIC Rainbow Room”). (See Pour-Moezzi Decl., ¶ 5, Ex. C.)
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   1             C.       Plaintiff Sues Defendants Because The MOIC Rainbow Room
                          Includes A Unicorn
   2
                 On July 13, 2018, nearly one year after MOIC opened its San Francisco
   3
       location, Plaintiff filed this action against MOIC and Ms. Bunn, asserting claims for
   4
       (1) copyright infringement, (2) breach of contract, (3) unjust enrichment, and (4)
   5
       unfair competition. [See generally Complaint.]
   6
                 In effect, Plaintiff’s complaint alleges that MOIC’s use of a unicorn in its San
   7
       Francisco exhibit constitutes copyright infringement because Plaintiff’s Work also
   8
       contained a unicorn. [See Complaint, ¶ 19 (“MOIC’s San Francisco exhibition
   9
       [contained] a solid-white unicorn with a long, gold horn nearly identical to the solid-
 10
       white unicorn with a long, gold horn in [Plaintiff’s Work]”); id., ¶ 29 (“[Plaintiff]
 11
       created the solid-white unicorn with a long, gold horn for a Rainbow Sherbet room
 12
       and provided it to Defendants on condition that Defendants not disclose it or use
 13
       it.”).]
 14
                 These same allegations ground Plaintiff’s state-law claims for breach of
 15
       contract, unjust enrichment, and unfair competition. [See, e.g., id., ¶¶ 48-49 (“The
 16
       contract required Defendants to maintain confidentiality of design proposals
 17
       provided to them. . . . Defendants have breached the [NDA] by, for example, using
 18
       the design proposals in a public exhibition at the San Francisco Museum of Ice
 19
       Cream location.”) (breach of contract claim); id., ¶ 54 (“It would be unjust for
 20
       Defendants to retain the benefits and profits flowing from Defendants’ wrongful use
 21
       of the design proposals”) (unjust enrichment claim); id., ¶ 58 (“Defendants’
 22
       unauthorized use of [Plaintiff’s] copyrighted work” constitutes “unlawful, unfair, or
 23
       fraudulent business acts of unfair competition in violation of Sections 17200, et seq.,
 24
       and California common law”) (unfair competition claim).]
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   1 III.      THE ENTIRE COMPLAINT SHOULD BE DISMISSED
   2           A.         Legal Standard Applicable To Motion To Dismiss
   3           A motion to dismiss should be granted when a complaint fails “to state a
   4 claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.
   5 544, 570 (2007). To survive a motion to dismiss, a complaint must plead sufficient
   6 facts from which a court could “draw the reasonable inference that the defendant is
   7 liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
   8           For purposes of ruling on a motion to dismiss under Fed. R. Civ. P. 12(b)(6),
   9 courts “accept factual allegations in the complaint as true and construe the pleadings
 10 in the light most favorable to the nonmoving party.” Manzarek v. St. Paul Fire &
 11 Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). Courts, however, need not
 12 “assume the truth of legal conclusions . . . cast in the form of factual allegations,
 13 Western Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981), or accept as
 14 true allegations contradicted by judicially-noticeable facts, Epikhin v. Game Insight
 15 N. Am., 2015 U.S. Dist. LEXIS 66188, at *10-11 (N.D. Cal. May 20, 2015).
 16            Although Rule 12(b)(6) motions are generally limited to the allegations in the
 17 complaint, courts “may consider evidence on which the complaint necessarily relies
 18 if: (1) the complaint refers to the document; (2) the document is central to the
 19 plaintiff’s claim; and (3) no party questions the authenticity of the copy attached to
 20 the 12(b)(6) motion.” Daniels-Hall v. Nat’l Educ. Ass’n., 629 F.3d 992, 998 (9th
 21 Cir. 2010) (citations and internal quotation marks omitted). A court may also
 22 consider “matters properly subject to judicial notice.” Swartz v. KPMG LLP, 476
 23 F.3d 756, 763 (9th Cir. 2007).
 24            B.         Plaintiff Fails To State A Claim For Copyright Infringement
 25            To state a claim for copyright infringement, a plaintiff must allege two
 26 elements: “(1) ownership of a valid copyright, and (2) copying of constituent
 27 elements of the work that are original.” Funky Films, Inc. v. Time Warner Entm’t
 28 Co., L.P., 462 F.3d 1072, 1076 (9th Cir. 2006). For this second element, a plaintiff

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   1 must allege facts that demonstrate “unlawful appropriation, that is, illicit copying . .
   2 . because copyright law does not forbid all copying.” Rentmeester v. Nike, Inc., 883
   3 F.3d 1111, 1117 (9th Cir. 2018). Indeed, “a defendant incurs no liability if he
   4 copies only the ‘ideas’ or ‘concepts’ used in the plaintiff’s work.” Id. Rather, “[t]o
   5 infringe, the defendant must also copy enough of the plaintiff’s expression of those
   6 ideas or concepts to render the two works ‘substantially similar.’” Id.
   7           To determine whether two works are substantially similar, courts employ “a
   8 two-part analysis consisting of the ‘extrinsic test’ and the ‘intrinsic test.’” Id. at
   9 1118. The extrinsic test—the only test relevant to a motion to dismiss—“assesses
 10 the objective similarities of the two works, focusing only on the protectable
 11 elements of the plaintiff’s expression.” Id. “Before that comparison can be made,
 12 the court must ‘filter out’ the unprotectable elements of the plaintiff’s work—
 13 primarily ideas and concepts, material in the public domain, and scenes a faire
 14 (stock or standard features that are commonly associated with the treatment of a
 15 given subject).” Id. Thus, “[t]he key question always is: Are the works
 16 substantially similar beyond the fact that they depict the same idea?” Mattel, Inc. v.
 17 MGA Entm’t, Inc., 616 F.3d 904, 917 (9th Cir. 2010) (emphasis added).
 18            A court may decide whether there is sufficient objective similarity under the
 19 extrinsic test as a matter of law on a motion to dismiss. Rentmeester, 883 F.3d at
 20 1123 (affirming dismissal of copyright infringement claim where two photos were
 21 not substantially similar as a matter of law); Christianson v. West Publishing Co.,
 22 149 F.2d 202, 203 (9th Cir. 1945) (“There is ample authority for holding that when
 23 the copyrighted work and the alleged infringement are both before the court, capable
 24 of examination and comparison, non-infringement can be determined on a motion to
 25 dismiss”; affirming dismissal of copyright infringement claim on a motion to
 26 dismiss); Zindel v. Fox Searchlight Pictures, Inc., No. CV 18-1435 PA, 2018 WL
 27 3601842 (C.D. Cal. July 23, 2018) (granting motion to dismiss copyright
 28 infringement claim for lack of substantial similarity); Gallagher v. Lions Gate

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   1 Entm’t, No. 2:15-cv-2739-ODW, 2015 WL 12481504 (C.D. Cal. Sept. 11, 2015)
   2 (same); Muromura v. Rubin Postaer and Associates, No. CV 12-9263 DDP, 2014
   3 WL 4627099, at *2 (C.D. Cal. Sept. 16, 2014) (same); Erickson v. Blake, 839 F.
   4 Supp. 2d 1132 (D. Or. 2012) (same).
   5                      1.   The Works Are Not Substantially Similar As A Matter Of
                               Law
   6
               Plaintiff’s claim for copyright infringement rests solely on allegations that the
   7
       unicorn used in the MOIC Rainbow Room is substantially similar to the unicorn in
   8
       Plaintiff’s Work. However, a visual comparison of the works confirms that Plaintiff
   9
       cannot state a claim for copyright infringement because, by any objective standard,
 10
       the parties’ respective unicorns are not substantially similar. Indeed, after filtering
 11
       out the unprotectable elements in Plaintiff’s Work, the remaining elements are
 12
       strikingly different from those present in MOIC’s unicorn.
 13
                               a.   Numerous Components Of Plaintiff’s Work Are
 14                                 Unprotectable
 15            Before comparing the two works for substantial similarity, the Court must
 16 first “filter out and disregard the nonprotectable elements” of Plaintiff’s Work,
 17 including all “elements of expression that necessarily follow from an idea, or
 18 expressions that are as a practical matter, indispensable or at least standard in the
 19 treatment of an idea.” Muromura, 2014 WL 4627099, at *2.
 20            In its Complaint, Plaintiff alleges that MOIC’s use of a unicorn in its San
 21 Francisco exhibit constitutes copyright infringement. [See, e.g., Complaint, ¶¶ 19-
 22 20, 24-25, 28, 29.] However, Plaintiff does not have a monopoly on all depictions
 23 of a unicorn, as the idea of a unicorn is “within the common heritage of
 24 humankind,” and thus free for others to use. Satava v. Lowry, 323 F.3d 805, 813
 25 (9th Cir. 2003).
 26            The Ninth Circuit and courts within this Circuit have repeatedly held
 27 accordingly. See, e.g., Satava v. Lowry, 323 F.3d at 810-11 (copyright protection
 28 does not extend to the idea of a jellyfish sculpture, nor the natural characteristics of

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   1 jellyfish such as bright colors, tendril-like tentacles, and rounded bells); Folkens v.
   2 Wyland Worldwide, LLC, 882 F.3d 768, 775 (9th Cir. 2018) (anyone is free to create
   3 work based on the idea of two dolphins crossing under sea; “[n]o artist may use
   4 copyright law to prevent others from depicting this ecological idea.”); Aliotti v. R.
   5 Dakin & Co., 831 F.2d 898, 901-02 (9th Cir. 1987) (“No copyright protection may
   6 be afforded to the idea of producing stuffed dinosaur toys or to elements of
   7 expression that necessarily follow from the idea of such dolls . . . . Appellants
   8 therefore may place no reliance upon any similarity in expression resulting from
   9 either the physiognomy of dinosaurs or from the nature of stuffed animals.”);
 10 Herbert Rosenthal Jewelry Corp. v. Kalpakian, 446 F.2d 738, 742 (9th Cir. 1971)
 11 (others are free to utilize idea of depicting a jewel encrusted bee pin; “We think the
 12 production of jeweled bee pins is a larger private preserve than Congress intended to
 13 be set aside in the public market without a patent. A jeweled bee pin is therefore an
 14 ‘idea’ that defendants were free to copy.”); Mattel, Inc. v. MGA Entm’t, Inc., 616
 15 F.3d 904, 915-16 (9th Cir. 2010) (the concept of depicting a young, fashionable
 16 female doll with exaggerated features is unoriginal and an unprotectable idea);
 17 Pasillas v. McDonald’s Corp., 927 F.2d 440, 443 (9th Cir. 1991) (others are free to
 18 copy the idea of a mask depicting a man in the moon); Aurora World, Inc. v. Ty Inc.,
 19 719 F. Supp 2d 1115, 1136 (C.D. Cal. 2009) (“no copyright protection can be
 20 afforded the idea of producing plush toys that resemble particular animals”);
 21 Alchemy II, Inc. v. Yes! Entm’t Corp., 844 F. Supp. 560, 568 (C.D. Cal. 1994) (no
 22 copyright protection for the idea of a talking, plush teddy bear); Sportsmans
 23 Warehouse, Inc. v. Fair, 576 F. Supp. 2d 1175, 1180-81 (D. Colo. 2008) (others are
 24 free to copy the idea of sculptures of elk; “[a]n accurate portrayal of something that
 25 exists in the world (i.e., facts and ideas, such as a particular bottle) cannot be
 26 copyrighted.”).
 27           Certain features of Plaintiff’s unicorn, including its colors and long horn also
 28 are unprotectable elements as they are “indispensable or at least standard in the

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   1 treatment” of unicorns. Muromura, 2014 WL 4627099, at *2. Both Plaintiff’s
   2 Work and the MOIC Rainbow Room feature a white unicorn with a long, gold horn.
   3 [Complaint, ¶ 17.] However, unicorns are generally depicted with a white body and
   4 single gold horn. For example, the Merriam-Webster Dictionary defines “unicorn”
   5 as:
   6                      A mythical, usually white animal generally depicted with
                          the body and head of a horse with long flowing mane and
   7                      tail and a single often spiraled horn in the middle of the
                          forehead.
   8
       (See Request for Judicial Notice in Support of Motion to Dismiss Complaint
   9
       (“RJN”), Ex. A (emphasis added).)1 This entry also provides an illustration of a
 10
       unicorn, which is depicted with a white body, (RJN, Ex. A at 3), and provides
 11
       further images which depict a white unicorn with a gold horn (RJN, Ex. A at 4-5).
 12
               Similarly, the Encyclopedia Britannica contains an entry on “Unicorns”
 13
       which states:
 14
                          Unicorn, mythological animal resembling a horse or a kid
 15                       with a single horn on its forehead . . . . The earliest
                          description in Greek literature of a single-horned (Greek
 16                       monokeros, Latin unicornis) animal was by the historian
                          Ctesias (c. 400 BCE), who related that the Indian wild ass
 17                       was the size of a horse, with a white body . . . .
 18
 19
 20
 21    1
               This Court may take judicial notice of dictionary definitions from the
 22            Merriam-Webster dictionary. See, e.g., Sexy Hair Concepts, LLC v. Conair
               Corp., No. 212cv02218-CBM, 2013 WL 12119721, at *3 (C.D. Cal. Feb. 25,
 23            2013) (“Conair requests that the Court take judicial notice of the dictionary
 24            definition of the word ‘sexy’ as defined in the current version of the Merriam-
               Webster dictionary. The request is made pursuant to [FRE] 201 on the basis
 25            that the definition “can be accurately and readily determined from sources
 26            whose accuracy cannot reasonably be questioned . . . . The Court GRANTS
               this request.”); Phillips v. P.F. Chang’s China Bistro, Inc., No. 5:15-cv-344-
 27            RMW, 2015 WL 4694049, at *2 (N.D. Cal. Aug. 6, 2015) (taking judicial
 28            notice of Merriam-Webster Dictionary definitions of “celiac disease”).

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   1 (See RJN, Ex. B (emphasis added).) 2 Accordingly, these elements—common to the
   2 depiction of unicorns—are not subject to copyright protection and may be freely
   3 used by others, including MOIC.
   4           Indeed, courts have reached the same conclusion under similar facts. For
   5 example, in Satava, 323 F.3d at 807, the Ninth Circuit considered a copyright
   6 infringement claim concerning glass-in-glass sculptures of jellyfish. The sculpture
   7 was described as a “vertically oriented, colorful, fanciful jellyfish with tendril-like
   8 tentacles and a rounded bell” encased in glass. Id. In reversing the district court’s
   9 grant of a preliminary injunction against the defendant, the Ninth Circuit reasoned
 10 that these “standard and stereotyped elements” are “so typical of jellyfish
 11 physiology that to recognize copyright protection in their combination effectively
 12 would give [plaintiff] a monopoly on lifelike glass-in-glass sculptures of single
 13 jellyfish with vertical tentacles.” Id. at 812. Accordingly, the Court concluded that
 14 plaintiff “[could] not prevent other artists from combining [these elements.]” Id.
 15            Similarly, the Court in Alchemy II, Inc. v. Yes! Entm’t Corp., 844 F. Supp.
 16 560, 568 (C.D. Cal. 1994), considered a copyright infringement claim concerning
 17 two talking teddy bears. The plaintiff contended that the defendant’s bear infringed
 18 plaintiff’s copyrights because, among other things, both bears were made of plush
 19 material, wore clothes, featured protruding noses, and paws and ears in a light color
 20 which contrasted with the rest of the fur. Id. In granting the defendant’s motion for
 21 summary judgment, the Court reasoned that “all of these features . . . are derived
 22 from the common idea of a talking, plush teddy bear.” Id. The Court noted that the
 23 plush material was “common to most stuffed toys,” that “[m]any stuffed animals
 24 wear clothes,” and that the “contrasting paw and ear colors are standard on teddy
 25 bears everywhere.” Id. The Court thus concluded that plaintiff “may not rely on
 26
       2
 27            The Court may judicially notice an entry from the Encyclopedia Britannica.
               See, e.g., Singh v. Ashcroft, 393 F.3d 903, 905 (9th Cir. 2004) (taking judicial
 28            notice of an article in the Encyclopedia Britannica).
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   1 any of these standard or functional features to demonstrate substantial similarity.”
   2 Id.; see also Aurora World, Inc. v. Ty Inc., 719 F. Supp. 2d 1115, 1136 (C.D. Cal.
   3 2009) (color of capuchin and lemur stuffed toys unlikely to be protectible, “given
   4 that it resembles the animals as they are found in nature.”); Pasillas, 927 F.2d at 443
   5 & n. 2 (crescent moon shape, depiction of human face in the center, and white or
   6 off-white color are standard, stock elements in treatment of idea of a man in the
   7 moon mask).
   8           And, in analyzing the depiction of two stars in plaintiff’s and defendant’s
   9 respective children’s books, the Ninth Circuit concluded:
 10                       Finally, we compare the two depictions of stars being
                          polished. Obvious similarities again appear. The subject
 11                       matter—a star being polished—is the same. Furthermore,
                          the stars being polished are both five-pointed, yellowish,
 12                       and smiling. But the basic idea of polishing a star and the
                          depiction of the common features of stars [e.g., yellow
 13                       color, five-pointed] are unprotectible[.]
 14    Cavalier v. Random House, Inc., 297 F.3d 815, 827 (9th Cir. 2002) (emphasis
 15 added).
 16            Just as teddy bears commonly feature contrasting paw and ear colors, stars are
 17 depicted as yellow, and jellyfish feature tentacles, unicorns are commonly depicted
 18 in white with a golden long horn. These elements are thus “treated like ideas and
 19 are therefore not protected by copyright.” Rice v. Fox Broadcasting Co., 330 F.2d
 20 1170, 1175 (9th Cir. 2003). As a matter of law, Plaintiff may not rely on these
 21 elements in alleging copyright infringement against Defendants. Apple Computer,
 22 Inc. v. Microsoft Corp., 35 F.3d 1435, 1446 (9th Cir. 1994) (plaintiff “may place no
 23 reliance upon any similarity in expression resulting from unprotectable elements.”).
 24                             b.     The Protectable Elements Of Plaintiff’s Unicorn Are
                                       Strikingly Different From MOIC’s Unicorn
 25
               After filtering out the unprotectable elements in Plaintiff’s Work, a side-by-
 26
       side comparison of the parties’ respective unicorns reveals starkly different
 27
       expressive elements.
 28

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   1                  Plaintiff’s Unicorn                      MOIC’s Unicorn
   2
   3
   4
   5
   6
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 10
 11            For example, Plaintiff’s unicorn possesses a longer, bulkier and more
 12 muscular torso. By contrast, MOIC’s unicorn features a leaner, shorter, and less
 13 muscular torso. While Plaintiff’s unicorn has shorter, muscular legs, and small
 14 hooves, MOIC’s unicorn has long, thin legs and appreciably larger hooves.
 15 Plaintiff’s unicorn features a long tail and no mane along the back of its neck, while
 16 MOIC’s unicorn has a short, bushy tail, and a mane along its neck. The unicorns’
 17 faces also appear quite distinct as Plaintiff’s unicorns features a fuller face with
 18 robust cheeks and round eyes, whereas MOIC’s unicorn features a thinner face,
 19 almond-shaped eyes and a longer horn. Further, the unicorns are positioned
 20 differently. MOIC’s unicorn stands with its right hind leg behind its left hind leg
 21 and its left front leg behind its right front leg. The legs of MOIC’s unicorn are
 22 positioned in the exact opposite way, namely, its left hind leg is behind its right hind
 23 leg and its right front leg is behind its left front leg. Additionally, while Plaintiff’s
 24 unicorn is depicted with its head, eyes and mouth angled downwards, the head, eyes
 25 and mouth of MOIC’s unicorn are angled upright. In sum, the only commonality
 26 between the works is the idea or concept of the unicorn, but not the unique
 27 expression of that idea.
 28

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   1           In light of the obvious and material differences in the expressive elements, as
   2 a matter of law, Plaintiff cannot plausibly allege that the protected elements of its
   3 work are substantially similar to the unicorn in the MOIC Rainbow Room.
   4           The facts of the Ninth Circuit’s recent decision, Rentmeester v. Nike, Inc., 883
   5 F.3d 1111 (9th Cir. 2018) are instructive. There, the plaintiff alleged that Nike
   6 infringed his copyright in a photograph of Michael Jordan when it commissioned its
   7 own photograph of Jordan in the grand jete pose and used the photograph to create
   8 its famous “Jumpman” logo. Id. at 1116. The district court granted Nike’s motion
   9 to dismiss with prejudice, finding no substantial similarity between the two works as
 10 a matter of law. Id. The Ninth Circuit affirmed, finding that the plaintiff could not
 11 plausibly allege that Nike copied enough of the protected expression from his photo
 12 to show substantial similarity. Id. at 1121. After filtering out the nonprotectable
 13 elements of the plaintiff’s work (i.e., plaintiff “cannot prohibit other photographers
 14 from taking their own photos of Jordan in a leaping, grand jete-inspired pose”), the
 15 Ninth Circuit went on to compare the protectable elements of the works, namely the
 16 selection and arrangement of the photos’ elements. Id. at 1121.
 17                       Plaintiff’s Work                        Nike’s Work
 18
 19
 20
 21
 22
 23
 24
 25            The Court noted numerous differences between the two photos, including:
 26 “[t]he position of each of his limbs in the two photos;” the setting of each photo –
 27 the grassy knoll present in the plaintiff’s photo was missing from Nike’s photo; the
 28 positioning of the basketball hoops – the hoop in the plaintiff’s photo is placed out

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   1 of Jordan’s reach, whereas in Nike’s photo, the hoop is easily within Jordan’s reach;
   2 and the background of each photo – while the background of the plaintiff’s photo is
   3 a cloudless blue sky with a large sun, the background of the Nike photo has no sun
   4 and consists of the Chicago skyline silhouetted against late dusk or early dawn. Id.
   5 at 1121-22.
   6           In light of these material differences, the Court concluded:
   7                      [T]hese differences in selection and arrangement of
                          elements, as reflected in the photos’ objective details,
   8                      preclude as a matter of law a finding of infringement . . . .
                          What Rentmeester’s photo and the Nike photo share are
   9                      similarities in general ideas or concepts: Michael Jordan
                          attempting to dunk in a pose inspired by ballet’s grand
 10                       jete; an outdoor setting stripped of most of the traditional
                          trappings of basketball; a camera angle that captures the
 11                       subject silhouetted against the sky. Rentmeester cannot
                          claim an exclusive right to ideas or concepts at that level
 12                       of generality, even in combination. Permitting him to
                          claim such a right would withdraw those ideas or concepts
 13                       from the “stock of materials” available to other artists, . . .
                          thereby thwarting copyright’s “fundamental objective” of
 14                       “fostering creativity.” Copyright promotes the progress of
                          science and the useful arts by “encouraging others to build
 15                       freely upon the ideas and information conveyed by a
                          work.”
 16
       Id. at 1123 (emphasis added).
 17
               Similarly, in Croak v. Saatchi & Saatchi N. Am., Inc., 174 F. Supp. 3d 829
 18
       (S.D.N.Y. 2016), the district court granted the defendant’s motion to dismiss a
 19
       complaint for copyright infringement without leave to amend. There, the plaintiff
 20
       owned a copyright in his sculpture featuring a Pegasus breaking through the roof of
 21
       a car, and sued Toyota for copyright infringement related to Toyota’s advertising
 22
       which featured a car transporting a large stuffed hybrid of a unicorn and Pegasus.
 23
       Id. at 832-33.
 24
 25
 26
 27
 28

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   1                      Plaintiff’s Work                     Toyota’s Work
   2
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 11            Toyota moved to dismiss the plaintiff’s complaint, contending that the
 12 plaintiff could not show as a matter of law that the two works were substantially
 13 similar. Id. In granting Toyota’s motion to dismiss, the Court first filtered out the
 14 non-protectable elements of the plaintiff’s work. Id. at 835-36. Specifically, the
 15 Court stated that “there can be no question that plaintiff does not have a monopoly
 16 on all depictions of a Pegasus, even those juxtaposed with the roof of an
 17 automobile[.]” Id. at 835. In comparing the protectable expression of the works, the
 18 Court concluded that “there is almost nothing similar between plaintiff’s Sculpture,
 19 on the one hand, and defendants’ allegedly infringing works, on the other.” Id. 836.
 20 The Court noted numerous differences in the works including that plaintiff’s
 21 Pegasus was “strikingly realistic and life-like” while defendant’s was “a pink,
 22 smiling, oversized stuffed animal.” Id. The Court noted that the vehicles in each
 23 work were “also highly dissimilar.” Id. In light of these stark differences, the Court
 24 determined that “plaintiff’s copyright infringement claim fails as a matter of law.”
 25 Id. at 839.
 26            The facts of Eng v. Captain Blue Hen Comics, No. 14-cv-3631, 2014 WL
 27 2941280, at *3 (E.D.N.Y. June 30, 2014) are also instructive. There, the plaintiff
 28 alleged to own a copyright for a unicorn character who wears sunglasses and has

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   1 blonde hair, and asserted a copyright infringement claim against the defendant, who
   2 published a comic which also featured a shade-wearing and blonde-haired unicorn.
   3 Id. at *1. In granting the defendant’s motion to dismiss with prejudice, the Court
   4 found that the two works were not substantially similar, noting that simply because
   5 “both characters are unicorns wearing sunglasses is not a sufficient basis for a valid
   6 infringement claim.” Id. at *3.
   7           In Reece v. Island Treasures Art Gallery, Inc., 468 F. Supp. 2d 1197, 1207-08
   8 (D. Haw. 2006), the plaintiff, who owned a copyright for his photograph of a hula
   9 dancer, asserted a copyright infringement claim based on defendant’s stained-glass
 10 featuring a hula dancer, as depicted below. Id. at 1199-1200.
 11                       Plaintiff’s Work                    Defendant’s Work
 12
 13
 14
 15
 16
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 19
 20            The Court denied a motion for a preliminary injunction, finding that the two
 21 works were not substantially similar in their protectable elements. Id. at 1208.
 22 After filtering out the non-protectable elements of the plaintiff’s work (i.e., a hula
 23 dancer in standard hula dress, holding a traditional hula dance pose), the court
 24 determined that the two works were not substantially similar, including because the
 25 dancers’ bodies faced different directions, appeared at slightly different angles and
 26 positions, and differed in the depiction of their arms and feet. Id. at 1207-08.
 27            Like the subjects in Rentmeester, Croak, Eng, and Reece, “there can be no
 28 question that [P]laintiff does not have a monopoly on all depictions” of a gold-

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   1 horned white unicorn. Croak, 174 F. Supp. 3d at 835. Once this general,
   2 unprotected idea is filtered out from the analysis, it is objectively clear that
   3 Plaintiff’s and MOIC’s unicorns are expressed in very different ways. Because
   4 Plaintiff cannot plausibly allege that the unicorn in the MOIC Rainbow Room is
   5 substantially similar to its work, this claim must be dismissed. See Iqbal, 556 U.S.
   6 at 678 (a complaint must “state a claim to relief that is plausible on its face.”)
   7 (emphasis added); Gallagher, 2015 WL 12481504, at *2 (“[W]hen substantial
   8 similarity is absent after a review of the works at issue no amendment could cure the
   9 complaint’s deficiencies, thus, dismissal with prejudice is not uncommon.”). 3
 10           C.         Plaintiff’s Claims For Unjust Enrichment And Unfair Competition
                         Are Preempted By The Copyright Act
 11
              The Ninth Circuit employs a two-part test to determine whether the Copyright
 12
      Act preempts a state law claim. Preemption occurs where: (1) a plaintiff’s work
 13
      falls within the “subject matter” of the Copyright Act; and (2) the rights asserted by
 14
      a plaintiff under state law are “equivalent to” those protected by the Copyright Act.
 15
      Downing v. Abercrombie & Fitch, 265 F.3d 994, 1003 (9th Cir. 2001). With respect
 16
      to the first factor,
 17
                         Sections 102 and 103 of the [Copyright] Act identify the
 18                      works of authorship that constitute the ‘subject matter’ of
 19
      3
              Although Plaintiff purports to base its copyright infringement claim on only
 20           the use of a unicorn in the MOIC Rainbow Room, for the avoidance of doubt,
 21           Defendants also note that the MOIC Rainbow Room, as a whole, does not
              infringe Plaintiff’s Work as a whole. Indeed, there are countless differences
 22           between the two works precluding a finding of substantial similarity as a
 23           matter of law, including that Plaintiff’s Work features several elements which
              are clearly not present in the MOIC Rainbow Room: rainbow sherbet bean
 24           bags, a blue sky background, and one solid rainbow. By contrast, in addition
 25           to the unicorn, the MOIC Rainbow Room features walls imprinted with
              kaleidoscopic rainbow shapes. Moreover, that both works feature rainbows is
 26           not relevant to Plaintiff’s claim, as the Complaint acknowledges that MOIC
 27           explicitly requested a design proposal for a “rainbow” room. [Complaint, ¶
              12 (“[Ms.] Bunn personally asked [Plaintiff] to bid on one item and four
 28           rooms, including a “Rainbow sherbet room.”).]
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   1                      copyright. Section 102 of the Act extends copyright
                          protection to “original works of authorship fixed in any
   2                      tangible medium of expression . . . from which they can be
                          . . . reproduced . . . either directly or with the aid of a
   3                      machine or device.” 17 U.S.C. § 102(a).
   4 Id. at 1139. To “come within the subject matter of copyright,” a work “does not
   5 necessarily have to be actually protected by a specific copyright or even itself be
   6 copyrightable; it just has to be ‘within the subject matter’ of the Act.” Firoozye v.
   7 Earthlink Network, 153 F. Supp. 2d 1115, 1124 (N.D. Cal. 2001). With respect to
   8 the second factor, “a right which is the ‘equivalent to copyright’ is one that is
   9 infringed by the mere act of reproduction.” Laws v. Sony Music Entm’t, 448 F.3d
 10 1134, 1146 (9th Cir. 2006). Thus, “[t]o survive preemption, the state cause of action
 11 must protect rights which are qualitatively different from the copyright rights.” Del
 12 Madera Props. v. Rhodes & Gardner, Inc., 820 F.2d 973, 977 (9th Cir. 1987)
 13 (emphasis added) (overruled on other grounds).
 14            Courts have uniformly held that when a state law claim is based entirely on
 15 the unlawful use of purported copyrighted works, the claim is completely preempted
 16 by the Copyright Act. See, e.g., Kodadek v. MTV Networks, Inc., 152 F.3d 1209,
 17 1212 (9th Cir. 1998); Firoozye, 153 F. Supp. 2d at 1129-30; Worth v. Universal
 18 Pictures, Inc., 5 F. Supp. 2d 816, 820-22 (C.D. Cal. 1998); Dielsi v. Falk, 916 F.
 19 Supp. 985, 993 (C.D. Cal. 1996).
 20            Here, Plaintiff’s claims for unjust enrichment and unfair competition are
 21 based entirely on the alleged unauthorized use of Plaintiff’s Work. Accordingly,
 22 both are completely preempted by the Copyright Act.
 23                       1.    Plaintiff’s Work Falls Within The Subject Matter Of
                                Copyright
 24
               Plaintiff’s claims for unjust enrichment and unfair competition are based on
 25
       Defendants’ alleged use of Plaintiff’s Work, i.e., the design proposals submitted to
 26
       MOIC. [Complaint, ¶ 54 (unjust enrichment claim) (“It would be unjust for
 27
       Defendants to retain the benefits and profits flowing from Defendants’ wrongful use
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   1 of the design proposals.” (emphasis added)); id., ¶ 58 (unfair competition claim)
   2 (only allegedly unfair conduct identified is “Defendants’ unauthorized use of
   3 [Plaintiff’s] copyrighted work.” (emphasis added).) Undoubtedly, Plaintiff’s design
   4 proposals, which constitute pictorial works, fall within the “subject matter of the
   5 Copyright Act” for purposes of a preemption analysis. See 17 U.S.C. § 102(a)(5)
   6 (identifying “pictorial, graphic, and sculptural works” as eligible for copyright
   7 protection).
   8                      2.   Plaintiff’s Claims Are Equivalent To The Copyright Act
   9           Additionally, Plaintiff’s claims for unjust enrichment and unfair competition
 10 assert rights which are equivalent to those protected by the Copyright Act. Each
 11 claim is based solely on Defendants’ alleged unauthorized use of Plaintiff’s Work.
 12 [See Complaint, ¶¶ 53-55 (unjust enrichment claim) (“[Plaintiff] . . . provided design
 13 proposals described in this complaint to Defendants with the expectation that
 14 Defendants would not disclose or exploit the fruit of [Plaintiff’s] labor . . . . It would
 15 be unjust for Defendants to retain the benefits and profits flowing from Defendants’
 16 wrongful use of the design proposals.”); id., ¶¶ 58-59 (unfair competition claim)
 17 (“Defendants have engaged in unlawful, unfair, or fraudulent business acts of unfair
 18 competition in violation of Sections 17200 et seq., and California common law.
 19 This conduct includes Defendants’ unauthorized use of [Plaintiff’s] copyrighted
 20 work.”).
 21            Because Plaintiff’s unjust enrichment and unfair competition claims are not
 22 “qualitatively different” from rights protected by the Copyright Act, these claims are
 23 preempted and must be dismissed. See, e.g., Kodadek v. MTV Networks, Inc., 152
 24 F.3d 1209, 1212-13 (9th Cir. 1998) (unfair competition claim preempted by
 25 Copyright Act); Perfect 10, Inc. v. Cybernet Ventures, Inc., 167 F. Supp. 2d 1114,
 26 1125 (C.D. Cal. 2001) (dismissing unfair competition claim on grounds of
 27 preemption); Motown Record Corp. v. George Hormel & Co., 657 F. Supp. 1236,
 28 1239-40 (C.D. Cal. 1987) (unfair competition claim preempted where essence of

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   1 claim is derived from defendants’ unauthorized use of copyrighted work); Del
   2 Madera, 820 F.2d at 977 (unjust enrichment claim preempted); Zito v. Steeplechase
   3 Films, Inc., 267 F. Supp. 2d 1022, 1027 (N.D. Cal. 2003) (dismissing unjust
   4 enrichment claim on grounds of preemption; “While a claim for unjust enrichment
   5 may require proof that a benefit was conferred on the defendant, where the unjust
   6 enrichment arises from defendants’ unauthorized use of a copyrighted work, such an
   7 extra element does not qualitatively change the rights at issue, the rights the plaintiff
   8 holds in the copyrighted work, and does not avoid preemption.”); Firoozye, 153 F.
   9 Supp. 2d at 1126 (dismissing unjust enrichment claim on grounds of preemption;
 10 “where the plaintiff’s theory of relief is that the defendant has improperly benefited
 11 from using a certain work and that a contract should be implied in law (e.g., a quasi-
 12 contract, quantum meruit, or unjust enrichment claim), such a claim is preempted.”).
 13           D.         Plaintiff Fails To State A Claim For Breach Of Contract
 14           Plaintiff’s breach of contract claim also fails because Plaintiff has not
 15 plausibly pleaded that Defendants have breached the NDA. Plaintiff’s breach of
 16 contract claim is based on Defendants’ alleged failure “to maintain confidentiality of
 17 design proposals provided to them” by Plaintiff. [Complaint, ¶ 47.] Plaintiff alleges
 18 that “Defendants have breached the [NDA] by, for example, using the design
 19 proposals in a public exhibition at the San Francisco Museum of Ice Cream
 20 location.” [Complaint, ¶ 49.]
 21           While the NDA purports to protect Plaintiff’s “Confidential Information,” it
 22 expressly excludes certain types of information from its definition of “Confidential
 23 Information.” (Pour-Moezzi Decl., Ex. B.) Specifically, the NDA states:
 24                      Confidential information shall not include information
                         which (a) was or becomes generally available to the
 25                      public other than as a result of disclosure by the Recipient
                         to the public or any third party in violation of this
 26                      Agreement;. . . .
 27 (Pour-Moezzi Decl., Ex. B at ¶ 3 (emphasis added).) Thus, by definition,
 28 “Confidential Information” does not protect information which is publicly available.

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   1 The idea of a white unicorn cannot be “Confidential” under the NDA because such
   2 an idea is ubiquitous in popular culture and was generally known by the public long
   3 before the parties entered into the NDA. Indeed, the Merriam-Webster Dictionary
   4 defines unicorn as a “mythical, usually white animal[.]” (RJN, Ex. A at 2 (emphasis
   5 added).) Similarly, the Encyclopedia Britannica notes that the earliest description of
   6 a unicorn dates back to 400 B.C.E. and was depicted “with a white body.” (RJN,
   7 Ex. B at 1 (emphasis added).) As discussed above in connection with Plaintiff’s
   8 copyright infringement claim, Plaintiff does not have a monopoly on all depictions
   9 of a white unicorn. Thus, even though the MOIC Rainbow Room displays a white
 10 unicorn, this display is not, and never was, a disclosure of Plaintiff’s “Confidential
 11 Information.”
 12           Accordingly, Plaintiff’s breach of contract claim should be dismissed. See
 13 Freeman Inv. Mgmt. Co., LLC v. Frank Russell Co., No. 13-cv-2856, 2016 WL
 14 5719819, at *13 (S.D. Cal. Sept. 30, 2016) (no breach of contract as a matter of law
 15 where NDA excludes publicly available information and alleged breach pertained to
 16 such publicly available information); A Star Group, Inc. v. Manitoba Hydro, No. 13
 17 Civ 4501, 2014 WL 2933155, at *6 (S.D.N.Y. June 30, 2014) (granting motion to
 18 dismiss breach of contract claim where “[a]s a matter of law, the information
 19 disclosed [by defendant] was not confidential and therefore [plaintiff] cannot
 20 maintain a claim for breach of contract on this basis.”); Boccardi Capital Sys., Inc.
 21 v. D.E. Shaw Laminar Portfolios, LLC, 355 Fed. App’x 516, 518 (2d Cir. 2009)
 22 (holding that information generally available to the public could not support a claim
 23 for breach of a confidentiality clause because the clause expressly excluded public
 24 information); Wright’s Well Control Servs., LLC v. Oceaneering Int’l, Inc., No. 15-
 25 1720, 2015 WL 7281618, at *7 (E.D. La. Nov. 16, 2015) (breach of contract claim
 26 cannot be based on use of information which is publicly available; “To the extent
 27 that [plaintiff] bases its breach of contract claim on [defendant’s] use of information
 28 that appears in [plaintiff’s] [publicly available] patent applications, its claim is

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   1 without merit”); Conference Archives, Inc. v. Sound Images, Inc., No. 3:2006-76,
   2 2010 WL 1626072, at *2 (W.D. Pa. Mar. 31, 2010) (“because the code in question is
   3 ‘information generally available to the public,’ the NDA provides no remedy, and
   4 the Plaintiff fails to state a claim on breach of contract grounds.”); see also
   5 Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008)
   6 (on a 12(b)(6) motion, the court “need not accept as true conclusory allegations that
   7 are contradicted by documents referred to in the complaint.”).
   8           E.         Maryellis Bunn Should Be Dismissed From This Action
   9           Should the Court deny dismissal of the entire action, it should still dismiss the
 10 claims against Ms. Bunn in her personal capacity.
 11                       1.   The Breach Of Contract Claim Must Be Dismissed Against
                               Ms. Bunn
 12
               Plaintiff claims that MOIC entered into the NDA and breached it.
 13
       [Complaint, ¶ 14.] Ms. Bunn, an MOIC officer, signed the NDA on behalf of
 14
       MOIC. [Id.] On that basis, Plaintiff seeks personal liability against Ms. Bunn for
 15
       the alleged breach.
 16
               However, directors and officers are not personally liable on contracts they
 17
       sign on behalf of a corporation unless they expressly agree to bind themselves as
 18
       individuals. See Restatement (Third) of the Law of Agency § 6.01(2) (“When an
 19
       agent acting with actual or apparent authority makes a contract on behalf of a
 20
       disclosed principal . . . the agent is not a party to the contract unless the agent and
 21
       third party agree otherwise.”). This has been described as “a fundamental concept
 22
       of the law of corporations.” Kumar, Inc. v. Kudlow, 413 Fed. Appx. 981, 938 (9th
 23
       Cir. 2011).
 24
               Notably, Plaintiff does not allege that Ms. Bunn entered into the NDA in her
 25
       personal capacity. To the contrary, it acknowledges that the contract was between
 26
       Plaintiff and MOIC. [Complaint, ¶ 15 (alleging duties as between MOIC and
 27
       Plaintiff, not Ms. Bunn personally).] The NDA itself reflects that Ms. Bunn signed
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   1 as “an officer” of MOIC, not in her personal capacity. (Pour-Moezzi Decl., Ex.B at
   2 3 (“the Recipient has caused this Agreement to be executed by its duly authorized
   3 officer”).) As a matter of law, Ms. Bunn cannot be held personally liable on a
   4 contract that she entered into solely as an agent of MOIC. Kumar, 413 Fed. Appx.
   5 at 938 (citing U.S. Liab. Ins. Co. v. Haidinger-Hayes, Inc., 1 Cal.3d 586, 595 (1970)
   6 (“Directors and officers are not personally liable on contracts signed by them for
   7 and on behalf of the corporation unless they purport to bind themselves
   8 individually.”)); see also Buckley v. Cracchiolo, 2014 WL 545751 at *3 (C.D. Cal.
   9 2014) (dismissing breach of contract claims brought against corporate officers in
 10 their personal capacities); Design Associates, Inc. v. Welch, 224 Cal. App. 2d 165
 11 (1964) (demonstrating longstanding application of this principle).
 12           Thus, Plaintiff’s breach of contract claim against Ms. Bunn, who signed the
 13 NDA solely as an agent of MOIC, is improper and must be dismissed.
 14                      2.   The Copyright Infringement, Unjust Enrichment, and Unfair
                              Competition Claims Must Be Dismissed Against Ms. Bunn
 15
              Plaintiff’s copyright infringement claim also must be dismissed as against Ms.
 16
      Bunn. All conduct alleged against Ms. Bunn results from her position as the
 17
      founder and creative director of MOIC. [Complaint, ¶¶ 8, 24-27, 34.] No conduct
 18
      is alleged against Ms. Bunn in her personal capacity.
 19
              “Directors or officers of a corporation do not incur personal liability for torts
 20
      of the corporation merely by reason of their official position.” Haidinger-Hayes, 1
 21
      Cal.3d at 595. Rather, personal liability can only attach if that officer or director
 22
      directly “participated in the wrong or directed that it be done.” Id. As to copyright
 23
      infringement specifically, a plaintiff must allege specific facts demonstrating that an
 24
      individually named principal was the “guiding spirit” or “central figure” in the
 25
      alleged copyright infringement. Deckers Outdoor Corporation v. Fortune Dynamic,
 26
      Inc., 2015 WL 12731929, at *8 (C.D. Cal. 2015) (citing Davis v. Metro Prods, Inc.,
 27
      885 F.2d 515, 523 n.10 (9th Cir. 2989)). Conclusory allegations that an individual
 28

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   1 was the “active, moving, conscious force behind the [infringement]” are insufficient.
   2 Id. at *8. Rather, a plaintiff must plead specific facts demonstrating the “guiding
   3 spirit” or “central force” qualifier. Id.
   4           Plaintiff has not alleged any facts demonstrating that Ms. Bunn was the
   5 “guiding spirit” or “central force” behind MOIC’s alleged infringement.
   6 Specifically, the Complaint lacks sufficient allegations as to actual copying by Ms.
   7 Bunn. United States v. Liu, 731 F.3d 982, 991 (9th Cir. 2013) (“[E]ven when two
   8 works are substantially similar with respect to protectable expression, if the
   9 defendant did not copy as a factual matter, but instead independently created the
 10 work at issue, then infringement liability must be denied.”) (quoting Airframe Sys.,
 11 Inc. v. L-3 Commc'ns Corp., 658 F.3d 100, 106 (1st Cir. 2011)). The Complaint
 12 states that Plaintiff sent “MOIC concepts and designs for each of the four rooms.”
 13 [Complaint, ¶ 16.] But, it contains no allegation stating that Ms. Bunn herself
 14 received or ever saw the subject designs or that she personally copied them.
 15 Accordingly, the copyright infringement allegations fail to state a claim.
 16            Plaintiff’s unjust enrichment and unfair competition claims are wholly
 17 dependent on the same facts that purport to support the copyright claim, and they
 18 must likewise be dismissed for failing to state a claim against Ms. Bunn personally.
 19 IV.        CONCLUSION
 20            Defendants respectfully request that each of Plaintiff’s claims be dismissed
 21 without leave to amend, as amendment would be futile. See, e.g., Steckman v. Hart
 22 Brewing, Inc., 143 F.3d 1293, 1298 (9th Cir. 1998) (“Although there is a general
 23 rule that parties are allowed to amend their pleadings, it does not extend to cases in
 24 which any amendment would be an exercise in futility or where the amended
 25 complaint would also be subject to dismissal.”).
 26
 27
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   1 Dated: October 9, 2018
   2                             Respectfully submitted,
   3
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   4                             LLP
   5
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